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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors. 1                          (Jointly Administered)


               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
            HEARING ON OCTOBER 18, 2023 AT 2:00 P.M. (EASTERN TIME2)


 This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
   Courtroom #4. All parties, including witnesses, are expected to attend in person unless
permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
 is allowed only in the following circumstances: (i) a party who files a responsive pleading
intends to make only a limited argument; (ii) a party who has not submitted a pleading but
      is interested in observing the hearing; or (iii) other extenuating circumstances as
                                     determined by Judge Horan.
 All participants over Zoom must register in advance. Please register by October 17, 2023,
                                 at 4:00 p.m. (EST). at the link below.
  https://debuscourts.zoomgov.com/meeting/register/vJItce2pqzgjGJDV9hT6Gi4MDRHc8o2rfYI https://protect-
                           us.mimecast.com/s/nIB1CM89x8f68j8oTwpOGn

    MATTERS RESOLVED BY CNO/COC

         1. Debtors’ Motion for Entry of an Order (I) Setting Bar Dates for Filing Proofs of
            Claim, Including Requests for Payment Under Section 503(B)(9), (II) Setting a Bar
            Date for the Filing of Proofs of Claim by Governmental Units, (III) Establishing
            Amended Schedules Bar Date and Rejection Damages Bar Date, (IV) Approving the
            Form of and Manner for Filing Proofs of Claim, (V) Approving Notice of Bar Dates,
            and (VI) Granting Related Relief [Filed September 27, 2023] (Docket No. 386).

         Response Deadline: October 11, 2023.

         Responses Received: None.


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.
2   All motions and other pleadings referenced herein are available online at the following web address:
    https://cases.stretto.com/Amyris.
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        Related Documents:

                   a.   Certificate of No Objection Regarding Debtors’ Motion for Entry of an
                        Order (I) Setting Bar Dates for Filing Proofs of Claim, Including Requests
                        for Payment Under Section 503(B)(9), (II) Setting a Bar Date for the
                        Filing of Proofs of Claim by Governmental Units, (III) Establishing
                        Amended Schedules Bar Date and Rejection Damages Bar Date, (IV)
                        Approving the Form of and Manner for Filing Proofs of Claim, (V)
                        Approving Notice of Bar Dates, and (VI) Granting Related Relief [Filed
                        October 12, ,2023] (Docket No. 519).

                   b.   [SIGNED] Order (I) Setting Bar Dates for Filing Proofs of Claim,
                        Including Requests for Payment Under Section 503(B)(9), (II) Setting a
                        Bar Date for the Filing of Proofs of Claim by Governmental Units, (III)
                        Establishing Amended Schedules Bar Date and Rejection Damages Bar
                        Date, (IV) Approving the Form of and Manner for Filing Proofs of Claim,
                        (V) Approving Notice of Bar Dates, and (VI) Granting Related Relief
                        [Filed October 13, 2023] (Docket No. 528).

        Status: The matter is resolved.

        2. Motion for an Order (A) Approving Procedures Related to the Assumption,
           Assumption and Assignment, or Transfer of Executory Contracts and Unexpired
           Leases; and (B) Granting Related Relief [Filed September 18, 2023] (Docket No.
           317).

        Response Deadline: October 11, 2023.

        Responses Received: None.

        Related Documents:

                   a.   Certification of Counsel Regarding Debtors’ Motion for an Order (A)
                        Approving Procedures Related to the Assumption, Assumption and
                        Assignment, or Transfer of Executory Contracts and Unexpired Leases;
                        and (B) Granting Related Relief [Filed October 12, 2023] (Docket No.
                        521).

                   b.   [SIGNED] Order (A) Approving Procedures Related to the Assumption,
                        Assumption and Assignment, or Transfer of Executory Contracts and
                        Unexpired Leases; and (B) Granting Related Relief [Filed October 13,
                        2023] (Docket No. 526).

        Status: The matter is resolved.

        3. Third Omnibus Motion for the Entry of an Order (A) Authorizing Rejection of
           Executory Contracts Effective as of the Applicable Rejection Date; and (B) Granting
           Related Relief [Filed September 27, 2023] (Docket No. 394).

        Response Deadline: October 11, 2023.

        Responses Received: None.



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        Related Documents:

                   a.   Certification of Counsel Regarding Third Omnibus Motion for the Entry
                        of an Order (A) Authorizing Rejection of Executory Contracts Effective as
                        of the Applicable Rejection Date; and (B) Granting Related Relief [Filed
                        October 12, 2023] (Docket No. 520).

                   b.   [SIGNED] Order (A) Authorizing Rejection of Executory Contracts
                        Effective as of the Applicable Rejection Date; and (B) Granting Related
                        Relief [Filed October 13, 2023] (Docket No. 527).

        Status: The matter is resolved.

        4. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors’
           Brand Assets; (B) Approving Certain Bid Protections in Connection with the
           Debtors’ Entry into any Potential Stalking Horse Agreements; (C) Scheduling the
           Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof;
           and (E) Granting Related Relief; and (II) an Order or Orders (A) Approving the Sale
           of the Debtors’ Brand Assets Free and Clear of all Encumbrances; and (B) Approving
           the Assumption and Assignment of Executory Contracts and Unexpired Leases [Filed
           September 18, 2023] (Docket No. 316).

        Response Deadline: October 11, 2023.

        Responses Received:

                   a.   Statement and Reservation of Rights of the Official Committee Of
                        Unsecured Creditors to the Debtors’ Motion for (I) an Order (A)
                        Approving Bid Procedures for the Sale of the Debtors’ Brand Assets; (B)
                        Approving Certain Bid Protections in Connection with the Debtors’ Entry
                        into any Potential Stalking Horse Agreements; (C) Scheduling the Auction
                        and Sale Hearing; (D) Approving the Form and Manner of Notice
                        Thereof; and (E) Granting Related Relief; and (II) an Order or Orders (A)
                        Approving the Sale of the Debtors’ Brand Assets Free and Clear of all
                        Encumbrances; and (B) Approving the Assumption and Assignment of
                        Executory Contracts and Unexpired Leases [Filed October 12, 2023]
                        (Docket No. 516).

        Related Documents:

                   a.   Certificate of Service [Filed September 27, 2023] (Docket No. 389).

                   b.   Certification of Counsel Regarding Motion for (I) an Order (A) Approving
                        Bid Procedures for the Sale of the Debtors Brand Assets; (B) Approving
                        Certain Bid Protections in Connection with the Debtors Entry into Any
                        Potential Stalking Horse Agreements; (C) Scheduling the Auction and
                        Sale Hearing; (D) Approving the Form and Manner of Notice Thereof;
                        and (E) Granting Related Relief; and (II) An Order or Orders (A)
                        Approving the Sale of the Debtors Brand Assets Free and Clear Of All
                        Encumbrances; and (B) Approving the Assumption and Assignment of
                        Executory Contracts and Unexpired Leases [Filed October 16, 2023]
                        (Docket No. 544).

        Status: The matter is resolved.

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    MATTERS GOING FORWARD

        5. Application of the Official Committee of Unsecured Creditors for Entry of an Order
           (I) Authorizing the Retention and Employment of Jefferies LLC as Investment
           Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1.
           2023 and (II) Waiving Certain Time-Keeping Requirements [Filed September 20,
           2023] (Docket No. 334).

        Response Deadline: October 4, 2023.

        Responses Received:

                   a.   Debtor’s Objection to Application of the Official Committee of Unsecured
                        Creditors for Entry of an Order (I) Authorizing the Retention and
                        Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C.
                        §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving
                        Certain Time-Keeping Requirements [Filed October 4, 2023] (Docket No.
                        446).

                   b.   Joinder of Euagore, LLC and the Foris Prepetition Secured Lenders to the
                        Debtor’s Objection to Application of the Official Committee of Unsecured
                        Creditors for Entry of an Order (I) Authorizing the Retention and
                        Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C.
                        §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving
                        Certain Time-Keeping Requirements [Filed October 4, 2023] (Docket No.
                        450).

                   c.   Ad Hoc Noteholder Group’s Statement in Support of the Application of
                        the Official Committee of Unsecured Creditors for Entry of an Order (I)
                        Authorizing the Retention and Employment of Jefferies LLC as
                        Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [Filed
                        October 13, 2023] (Docket No. 529).

                   d.   Statement of Ad Hoc Cross-Holder Group in Support of the Official
                        Committee of Unsecured Creditors’ Application for Entry of an Order (I)
                        Authorizing the Retention and Employment of Jefferies LLC as
                        Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective
                        as of September 1, 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed October 13, 2023] (Docket No. 531).

        Reply:

                   a.   Omnibus Reply of the Official Committee of Unsecured Creditors to (A)
                        Objection of the Debtors and (B) Objection of the DIP Lender and Foris
                        Prepetition Lenders to the Committee’s Application to Retain Jefferies
                        LLC as Investment Banker [Filed October 13, 2023] (Docket No. 533).

        Related Documents:

                   a.   First Supplemental Declaration of Leon Szlezinger in Support of the
                        Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a),


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                        Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed September 30, 2023] (Docket No. 405).

                   b.   Notice of Filing of Revised Order Regarding Application of the Official
                        Committee of Unsecured Creditors for Entry of an Order (I) Authorizing
                        the Retention and Employment of Jefferies LLC as Investment Banker
                        Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1.
                        2023 and (II) Waiving Certain Time-Keeping Requirements [Filed
                        September 30, 2023] (Docket No. 406).

                   c.   Second Supplemental Declaration of Leon Szlezinger in Support of the
                        Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a),
                        Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed October 10, 2023] (Docket No. 496).
                   d.   Notice of Filing of Amended Second Supplemental Declaration of Leon
                        Szlezinger in Support of the Application of the Official Committee of
                        Unsecured Creditors for Entry of an Order (I) Authorizing the Retention
                        and Employment of Jefferies LLC as Investment Banker Pursuant to 11
                        U.S.C. §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II)
                        Waiving Certain Time-Keeping Requirements [Filed October 10, 2023]
                        (Docket No. 503).

                   e.   Debtor’s Motion to Continue Hearing the Application of the Official
                        Committee of Unsecured Creditors for Entry of an Order (I) Authorizing
                        the Retention and Employment of Jefferies LLC as Investment Banker
                        Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [Filed October 13, 2023]
                        (Docket No. 534).

                   f.   Motion to Shorten Notice Period and Schedule Zoom Hearing with
                        Respect to the Debtors’ Motion to Continue Hearing on Application of the
                        Official Committee of Unsecured Creditors for Entry of an Order (I)
                        Authorizing the Retention and Employment of Jefferies LLC as
                        Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [Filed
                        October 13, 2023] (Docket No. 535).

                   g.   [SIGNED] Order Shortening Notice Period and Scheduling Zoom Hearing
                        with Respect to the Debtors’ Motion to Continue Hearing on the
                        Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [Filed
                        October 13, 2023] (Docket No. 538).

        Status: A hearing requesting continuance of this matter is scheduled for October 16,
        2023 at 2:00 p.m. (prevailing Eastern Time).

    6. Motion of Givaudan SA Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an
       Order Directing the Production of Documents [Filed October 4, 2023] (Docket No. 448).

        Response Deadline: October 11, 2023.

        Responses Received:

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                   a.   Statement in Connection with the Motion of Givaudan SA for an Order
                        Directing the Production of Documents [Filed October 11, 2023] (Docket
                        No. 515).

        Related Documents: None.

        Status: The matter will go forward.

    7. [SEALED] Motion of DSM-Firmenich to Compel Debtors’ Compliance with Section
       365(n)(4) of the Bankruptcy Code [Filed October 4, 2023] (Docket No. 465).

                   a.   [REDACTED] Motion of DSM-Firmenich to Compel Debtors’
                        Compliance with Section 365(n)(4) of the Bankruptcy Code [Filed
                        October 4, 2023] (Docket No. 466).

        Response Deadline: October 11, 2023.
        Responses Received:

                   a.   Debtors’ Objection to Motion of DSM-Firmenich to Compel Debtors’
                        Compliance with Section 365(n)(4) of the Bankruptcy Code [Filed
                        October 13, 2023] (Docket No. 532).

        Related Documents:

                   a.   Certificate of Service [Filed October 5, 2023] (Docket No. 472).

        Status: The matter will go forward.

    8. Motion of DSM-Firmenich for Entry of an Order Authorizing DSM-Firmenich to File
       Under Seal Certain Information Contained in the Motion of DSM-Firmenich to Compel
       Debtors’ Compliance with Section 365(n)(4) of the Bankruptcy Code [Filed October 6,
       2023] (Docket No. 479).

        Response Deadline: October 11, 2023.

        Responses Received: None.

        Related Documents:

                   a.   Re-Notice of Motion [Filed October 6, 2023] (Docket No. 488).

                   b.   Certificate of Service [Filed October 6, 2023] (Docket No. 489).

        Status: The matter will go forward.

    9. Debtors’ Motion for Entry of an Order Authorizing Debtors to File Under Seal Certain
       Information Related to Debtors’ Objection to Motion of DSM-Firmenich to Compel
       Debtors’ Compliance with Section 365(n)(4) of the Bankruptcy Code [Filed October 13,
       2023] (Docket No. 537).

        Response Deadline: October 18, 2023 at 2:00 p.m. (ET).

        Responses Received: None.

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        Related Documents: None.

        Status: The matter will go forward.



Dated: October 16, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

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